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 1   MORRISON & FOERSTER LLP
     MICHAEL A. JACOBS (Bar No. 111664)
 2   mjacobs@mofo.com
     MARC DAVID PETERS (Bar No. 211725)
 3   mdpeters@mofo.com
     DANIEL P. MUINO (Bar No. 209624)
 4   dmuino@mofo.com
     755 Page Mill Road, Palo Alto, CA 94304-1018
 5   Telephone: (650) 813-5600 / Facsimile: (650) 494-0792
 6   BOIES, SCHILLER & FLEXNER LLP
     DAVID BOIES (Admitted Pro Hac Vice)
 7   dboies@bsfllp.com
     333 Main Street, Armonk, NY 10504
 8   Telephone: (914) 749-8200 / Facsimile: (914) 749-8300
     STEVEN C. HOLTZMAN (Bar No. 144177)
 9   sholtzman@bsfllp.com
     1999 Harrison St., Suite 900, Oakland, CA 94612
10   Telephone: (510) 874-1000 / Facsimile: (510) 874-1460
11   ORACLE CORPORATION
     DORIAN DALEY (Bar No. 129049)
12   dorian.daley@oracle.com
     DEBORAH K. MILLER (Bar No. 95527)
13   deborah.miller@oracle.com
     MATTHEW M. SARBORARIA (Bar No. 211600)
14   matthew.sarboraria@oracle.com
     500 Oracle Parkway, Redwood City, CA 94065
15   Telephone: (650) 506-5200 / Facsimile: (650) 506-7114
16   Attorneys for Plaintiff
     ORACLE AMERICA, INC.
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18
                                   UNITED STATES DISTRICT COURT
19
                              NORTHERN DISTRICT OF CALIFORNIA
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                                      SAN FRANCISCO DIVISION
21
     ORACLE AMERICA, INC.                              CASE NO. CV 10-03561 WHA
22
                      Plaintiff,                       [PROPOSED] ORDER GRANTING
23                                                     ORACLE AMERICA, INC.’S MOTION
            v.                                         TO EXCLUDE EVIDENCE
24                                                     REGARDING GOOGLE’S LICENSE,
                                                       IMPLIED LICENSE, OR EQUITABLE
25   GOOGLE INC.                                       ESTOPPEL DEFENSES
26                    Defendant.                       Judge: Honorable William H. Alsup
27

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     [PROPOSED] ORDER GRANTING ORACLE AMERICA, INC.’S MOTION TO EXCLUDE EVIDENCE
     REGARDING GOOGLE’S LICENSE, IMPLIED LICENSE, AND EQUITABLE ESTOPPEL DEFENSES
     CASE NO. CV 10-03561 WHA
     pa-1523643
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 1           Before this Court is Oracle America Inc.’s Motion to Exclude Evidence Regarding License,

 2   Implied License, or Equitable Estoppel. Based on the arguments presented in the motion, in the

 3   supporting Declaration of Daniel P. Muino, and any other relevant matter, the motion is hereby

 4   GRANTED. Google shall not introduce evidence or argument at trial regarding its license,
 5   implied license, and equitable estoppel defenses beyond what Google disclosed in its
 6   interrogatory responses.
 7

 8           IT IS SO ORDERED.
 9
     Date:
10                                                Honorable William H. Alsup
                                                  Judge of the United States District Court
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     [PROPOSED] ORDER GRANTING ORACLE AMERICA, INC.’S MOTION TO EXCLUDE EVIDENCE
     REGARDING GOOGLE’S LICENSE, IMPLIED LICENSE, AND EQUITABLE ESTOPPEL DEFENSES                       1
     CASE NO. CV 10-03561 WHA
     pa-1523643
